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IN THE UNITED STATES DISTRICT coURT m BYQ&:/-D'c'
FOR THE wESTERN DISTRICT oF TENNESSEE
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Trlj`W$'M.'G{U.D
THE cLARK coNsTRUCTION GROUP, INC., CLEFK. U.SUSTWCTM

Wf|') OF 73 i-'éE.AFPHIS
Plaintiff,

VS. NO. Ol-Z7SO-Ma

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER GRANTING MOTION FOR LEAVE TO FILE
MOTION FOR PARTIAL SUMMARY JUDGMENT AS TO PLAINTIFF’S DAMAGES
CLAIMS FOR ADDED PROJECT PERSONNEL AND
AMENDED REQUEST FOR EXTENDED PAGE LIMITATION

 

Before the court is defendants' July 8, 2005, unopposed
motion for leave to file a Motion for Partial Summary Judgment as
to Plaintiff‘s Damages Claims for Added Project Personnel and
Amended Request for Extended Page Limitation. For good cause
shown, the motion is granted. Defendants are granted a one day
extension to July l, 2005, of the deadline for filing potentially
dispositive motions so as to allow for the filing of the above-
stated motion. Defendants’ motion may exceed the page limitation
rule.

It is so ORDERED this Hh`day of July, 2005.

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SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT COURT

 

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Honorable Samuel Mays
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